         Case 1:24-cr-00542-AS       Document 106 Filed 12/10/24 Page 1 of 2
                                                U.S. Department of Justice
                                                                                           Page 3
                                                    United States Attorney
My und                                              Southern District of New York
                                                    26 Federal Plaza, 37th Floor
                                                    New York, New York 10278




                                                    December 10, 2024


BY ECF

The Honorable Arun Subramanian
United States District Judge
Southern District of New York
500 Pearl Street
New York, NY 10007

       Re:     United States v. Sean Combs, 24 Cr. 542 (AS)

Dear Judge Subramanian:

        The Government’s Filter Team, which the two undersigned Assistant U.S. Attorneys
recently joined, writes to provide an update to the Court regarding the Government’s forthcoming
response to the defendant’s pending motion to pending motion for a hearing, suppression, and
other relief (the “Motion”). (Dkt. No. 97, 98).

        The undersigned AUSAs joined the Filter Team to address the issue, raised in the Motion,
of whether the defendant has met his burden of showing that the notes photographed by
Investigator-1 at the MDC (the “Notes”)—which the Filter Team has continued access to per the
Court’s Order of November 20, 2024 (Dkt. No. 76)—are in fact protected by attorney-client
privilege or the work-product doctrine. (See Dkt. No. 98 at 8-12). In order to address this issue,
the Government asked the defendant to produce directly to the Filter Team unredacted copies of
materials the defendant had filed ex parte with the Court containing facts or analysis relevant to
the defendant’s privilege claims (the “Ex Parte Filings”), including the Motion itself and
declarations of Teny Geragos, Esq., filed ex parte at Dkt. Nos. 75 (Appendix A) and 81 (together,
the “Geragos Declarations”).

        In response to the Government’s request, the defense produced partially unredacted copies
of Geragos Declarations to both the Filter Team and the Case Team. See Ex. A. The Filter Team
understands from its conversations with the defense that the defense refuses to provide fully
unredacted copies of the Ex Parte Filings to the Filter Team because, inter alia, doing so would
reveal additional attorney-client communications and/or work product beyond what is reflected in
the Notes. The extensive redactions in the copies of the Geragos Declarations the Government has
received, however, make it impossible to fully understand the basis for the defendant’s claims of
privilege as to each of the challenged portions of the Notes and thus to evaluate and adequately
respond to the defendant’s claims.
        Case 1:24-cr-00542-AS          Document 106         Filed 12/10/24     Page 2 of 2

                                                                                             Page 2


        In light of the defendant’s opposition to providing the Filter Team with unredacted copies
of the Ex Parte Filings, the Filter Team will not separately respond to the defendant’s claims that
the Notes are protected by the attorney-client privilege or the work-product doctrine. Rather, the
Filter Team understands that the Case Team will argue in its forthcoming response that the Motion
should be denied even assuming arguendo that the defendant has met his burden of establishing
that the Notes are privileged.

        In the event the Court would like the Filter Team to address the privilege issues, the Filter
Team respectfully requests that the Court order the defendant to provide unredacted copies of the
Ex Parte Filings directly to the Filter Team. See, e.g., United States v. Ceglia, No. 12-CR-876
VSB, 2015 WL 1499194, at *1 (S.D.N.Y. Mar. 30, 2015) (designating a filter or wall team “is a
common procedure for litigating asserted claims of privilege in this District”). Apart from
evaluating and addressing privilege issues, the Filter Team has not been involved in this litigation
or any related grand jury investigation. If provided access to the Ex Parte Filings, the Filter Team
will use them solely to address the privilege claims raised in the Motion and will not provide them
to, or discuss them with, anyone on the Case Team.




                                                Respectfully submitted,


                                                DAMIAN WILLIAMS
                                                United States Attorney


                                          By:      /s/                            ______
                                                Olga I. Zverovich / Matthew R. Shahabian
                                                Assistant United States Attorneys
                                                (212) 637-2514 / 1046

cc: all counsel by ECF

Enclosures
